                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )        Criminal Action No.
               v.                             )        18-00293-01-12-CR-W-DGK
                                              )
GERALD L. GINNINGS, et al.,                   )
                                              )
                       Defendants.            )

                                        ORDER

       Pending before the Court is the motion (Doc. No. 125) of defendant Stephanie Thurmond

to declare this case complex and extended pursuant to Section 230.23.40(b) of the CJA

Guidelines and 18 U.S.C. § 3006A(d)(3), as well as authorizing compensation in excess of the

statutory case compensation maximum and authorizing the submission of interim CJA vouchers.

For the reasons set forth in the motion the Court is convinced that this case is, in fact, complex

and will be litigated in an extended time frame. For good cause appearing, it is

       ORDERED that is the motion (Doc. No. 125) of defendant Stephanie Thurmond to

declare this case complex and extended pursuant to Section 230.23.40(b) of the CJA Guidelines

and 18 U.S.C. § 3006A(d)(3), as well as authorizing compensation in excess of the statutory case

compensation maximum and authorizing the submission of interim CJA vouchers is GRANTED.




                                                  /s/ JOHN T. MAUGHMER __
                                                            John T. Maughmer
                                                      United States Magistrate Judge




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